UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In re:
                                                      Chapter 11
The Diocese of Rochester,
                                                      Case No. 19-20905 (PRW)
                       Debtor.


                                     NOTICE OF FILING


         PLEASE TAKE NOTICE that, in accordance with the Administrative Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals and

Members of Official Committees [Docket No. 318] and the Supplement and Modification to

Administrative Order Establishing Procedures for Interim Compensation and Reimbursement of

Expenses for Professionals and Members of Official Committees [Docket No. 545], Burns Bair

LLP has filed the Monthly Fee Statement of Burns Bair LLP for Compensation for Services

Rendered and Reimbursement of Expenses as Special Insurance Counsel to the Official Committee

of Unsecured Creditors of the Diocese of Rochester for the Period August 1, 2023 through August

31, 2023, a copy of which is attached hereto and hereby served upon you. In addition, Burns Bair

LLP has provided the United States Trustee with a copy of its invoice in text format.

 Dated: September 19, 2023                  BURNS BAIR LLP

                                             /s/ Timothy W. Burns                             .




                                            Timothy W. Burns (admitted pro hac vice)
                                            Jesse J. Bair (admitted pro hac vice)
                                            10 E. Doty St., Suite 600
                                            Madison, WI 53703-3392
                                            Telephone: (608) 286-2808
                                            Email: tburns@burnsbair.com
                                            Email: jbair@burnsbair.com

                                            Special Insurance Counsel to the Official Committee
                                            of Unsecured Creditors of the Diocese of Rochester




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                    Case No. 19-20905
 The Diocese of Rochester,
                                                    Chapter 11
                        Debtor.


  MONTHLY FEE STATEMENT OF BURNS BAIR LLP FOR COMPENSATION FOR
   SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS SPECIAL
    INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS OF THE DIOCESE OF ROCHESTER FOR THE PERIOD
               AUGUST 1, 2023 THROUGH AUGUST 31, 2023


 Name of Applicant:                            Burns Bair LLP

 Authorized to Provide Professional            Official Committee of Unsecured Creditors
 Services to:                                  of the Diocese of Rochester

 Date of Retention:                            Effective May 26, 2021 pursuant to Order
                                               entered June 22, 2021 [Docket No. 1113]

 Period for which compensation and             August 1, 2023 through August 31, 2023
 reimbursement is sought:

 Amount of compensation sought as actual,      80% of $13,207.50 ($10,566.00)
 reasonable, and necessary:

 Amount of expense reimbursement sought        $46.97
 as actual, reasonable, and necessary:

This is a: X monthly ___ quarterly ___ final application.

This is Burns Bair LLP’s twenty-seventh monthly fee statement in this case.




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                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com



  Official Committee of Unsecured Creditors of                             Issue Date :      9/19/2023
  The Diocese of Rochester, New York
                                                                                 Bill # :        01225


Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date     Timekeeper     Narrative                                                  Hours     Amount
8/1/2023 Jesse Bair     Prepare for upcoming state court counsel meeting (.1);      0.20     $125.00
                        review I. Scharf correspondence re same (.1);
8/2/2023 Jesse Bair     Review agenda for state court counsel meeting (.1);         1.40     $875.00
                        participate in state court counsel meeting for insurance
                        purposes re case litigation and settlement strategy (1.3);
8/2/2023 Timothy Burns Participate in call with I. Scharf re state court counsel    1.60    $1,120.00
                        meeting (.2); review correspondence from I. Scharf re
                        same and meeting agenda (.1); participate in state court
                        counsel meeting re case insurance strategy (1.3);
8/7/2023 Jesse Bair     Review Diocese letter rejecting Committee Section 349 0.20           $125.00
                        filing request (.1); correspondence with I. Scharf re same
                        (.1);
8/9/2023 Jesse Bair     Correspondence with I. Scharf re draft Section 349          0.10      $62.50
                        complaint against CNA and demand letter (.1);
8/14/2023 Timothy Burns Review I. Scharf correspondence re upcoming state           0.10      $70.00
                        court counsel meeting (.1);
8/15/2023 Timothy Burns Correspondence with I. Scharf re derivative standing        0.90     $630.00
                        motion (.2); participate in weekly state court counsel for
                        insurance purposes (.6); correspondence with J. Bair re
                        derivative standing motion (.1);
8/15/2023 Jesse Bair    Correspondence with I. Scharf and T. Burns re derivative 0.10         $62.50
                        standing motion (.1);
8/16/2023 Timothy Burns Conference with J. Bair re outcome of state court           0.10      $70.00
                        counsel meeting and derivative standing motion (.1);
8/16/2023 Jesse Bair    Participate in conference with T. Burns re outcome of       0.10      $62.50
                        state court counsel meeting and derivative standing
                        motion (.1);
8/16/2023 Jesse Bair    Review I. Scharf correspondence re case update and          0.10      $62.50
                        developments (.1);
8/17/2023 Timothy Burns Correspondence with I. Scharf re allocation protocol (.1); 0.90      $630.00
                        review and revise Committee Section 349 derivative
                        standing motion (.8);
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8/18/2023 Jesse Bair    Participate in Committee meeting for insurance               1.50    $937.50
                        purposes re Plan issues and litigation strategy (1.5);
8/18/2023 Jesse Bair    Review and edit draft derivative standing motion (.9);       0.90    $562.50
8/21/2023 Jesse Bair    Review and respond to correspondence with B. Michael         0.20    $125.00
                        re Section 349 derivative standing motion and related
                        exhibits (.2);
8/22/2023 Jesse Bair    Review draft Order granting the Committee's Section          0.10     $62.50
                        349 derivative standing motion (.1);
8/22/2023 Timothy Burns Correspondence with B. Michael re hearing on the             0.10     $70.00
                        Committee's motion re derivative standing (.1);
8/23/2023 Timothy Burns Participate in call with J. Bair re case insurance issues    0.10     $70.00
                        and strategy (.1);
8/23/2023 Jesse Bair    Participate in call with T. Burns re case insurance issues   0.10     $62.50
                        and strategy (.1);
8/23/2023 Jesse Bair    Review B. Michael correspondence to the Committee re         0.10     $62.50
                        case developments (.1);
8/23/2023 Jesse Bair    Correspondence with B. Michael re revised versions of        0.10     $62.50
                        the draft Plan and LMI and Interstate settlement
                        agreements (.1);
8/24/2023 Jesse Bair    Respond to Committee member correspondence re                0.10     $62.50
                        CNA Plan questions (.1);
8/24/2023 Timothy Burns Review and revise LMI settlement agreement (1.2);            1.20    $840.00
8/26/2023 Timothy Burns Continue reviewing and revising draft LMI draft              2.80   $1,960.00
                        settlement agreement (2.8);
8/29/2023 Timothy Burns Analysis re revised version of the Committee and             0.60    $420.00
                        Diocese joint Plan of Reorganization (.5);
                        correspondence with J. Bair re same (.1);
8/29/2023 Jesse Bair    Brief review re revised version of the Committee /           0.50    $312.50
                        Diocese Plan of Reorganization (.3); correspondence
                        with B. Michael re suggested edits to same (.1);
                        correspondence with T. Burns re same (.1);
8/30/2023 Jesse Bair    Preliminary analysis re recent confirmation decision         0.10     $62.50
                        from the Diocese of Camden case (.1);
8/30/2023 Nathan Kuenzi Detailed analysis re denial of confirmation Order from       3.10   $1,302.00
                        Diocese of Camden case to inform Plan-related issues
                        in Rochester case (3.1);
8/31/2023 Timothy Burns Conference with N. Kuenzi re Interstate settlement draft     1.00    $700.00
                        (.2); correspondence with PSZJ re same (.2); analysis
                        regarding insurance strategy re CNA and Plan
                        confirmation issues (.6);
8/31/2023 Nathan Kuenzi Prepare for conference with T. Burns re draft Interstate     0.30    $126.00
                        settlement agreement (.1); participate in conference with
                        T. Burns re same (.2);
8/31/2023 Nathan Kuenzi Analyze and compare draft LMI and Interstate settlement      1.60    $672.00
                        agreements to ensure consistency between insurance
                        settlement agreements (1.6);
8/31/2023 Nathan Kuenzi Draft correspondence to T. Burns re differences              0.20     $84.00
                        between Interstate and LMI settlement agreement drafts
                        (.2);

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8/31/2023 Nathan Kuenzi Revise and edit draft Interstate settlement agreement   1.80      $756.00
                        (1.8);
Total Hours and Fees                                                            22.30   $13,207.50

                                            EXPENSES


Date                     Description                                                      Amount
8/4/2023                 CloudNine, database monthly hosting fee (July 2023)               $46.97
Total Expenses                                                                             $46.97


                                      Timekeeper Summary
Name                                          Hours                  Rate                 Amount
Jesse Bair                                      5.90              $625.00                $3,687.50
Nathan Kuenzi                                   7.00              $420.00                $2,940.00
Timothy Burns                                   9.40              $700.00                $6,580.00



                                                                Total Due This Invoice: $13,254.47




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